           Case 2:07-cr-00460-EJG Document 33 Filed 01/17/08 Page 1 of 2


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ANDY CHOI SAEPHAN
6

7
                      IN THE UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )     CR.S. 07-460-EJG
11                                 )
                    Plaintiff,     )     STIPULATION AND ORDER
12                                 )     TO EXTEND TIME FOR STATUS
          v.                       )     CONFERENCE AND EXCLUDE TIME
13                                 )
     DAVID THAM, et al.,           )     DATE: February 22, 2008
14                                 )     Time: 10:00 a.m.
                    Defendant.     )     Judge: Edward J. Garcia
15   ______________________________)
16

17        Defendant ANDY CHOI SAEPHAN, by and through his counsel,
18   DENNIS S. WAKS, Supervising Assistant Federal Defender, defendant
19   DAVID THAM by and through his counsel, DANNY BRACE, defendant
20   VINCENT DEVENECIA by and through his counsel, PETER KMETO and the
21   United States Government, by and through its counsel, PHILIP
22   TALBERT, Assistant United States Attorney, hereby stipulate that
23   the status conference set for January 18, 2008 be rescheduled for
24   a status conference/change of plea on Friday, February 22, 2008
25   at 10:00 a.m.
26        This continuance is being requested because defense counsel
27   requires additional time to receive and review discovery, discuss
28   the case with the government, and pursue investigation.

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              Case 2:07-cr-00460-EJG Document 33 Filed 01/17/08 Page 2 of 2


1         Speedy trial time is to be excluded from the date of this
2    order through the date of the status conference/change of plea
3    set for February 22, 2008 pursuant to 18 U.S.C. § 3161
4    (h)(8)(B)(iv) [reasonable time to prepare] (Local Code T4).
5    DATED: January 15, 2008
6
                                                Respectfully Submitted,
7
                                                DANIEL J. BRODERICK
8                                               Federal Defender
9
                                                /s/ Dennis S. Waks
10                                              Supervising Assist. Fed.
                                                Defender
11                                              For ANDY CHOI SAEPHAN
12
     DATED:    January 15, 2008                  /s/ Peter Kmeto
13                                              PETER KMETO Attorney for
                                                VINCENT DEVENECIA
14

15
     DATED:    January 15, 2008                  /s/ Danny Brace
16                                              DANNY BRACE Attorney for
                                                DAVID THAM
17

18

19   DATED:    January 15, 2008                 McGREGOR W. SCOTT
                                                United States Attorney
20

21                                               /s/ Dennis S. Waks for
                                                PHILIP TALBERT
22                                              Assistant U.S. Attorney
23   SO ORDERED.
24
     Dated: January 15,      2008
25

26
                                          /s/ Edward J. Garcia
27                                       EDWARD J. GARCIA
                                         United States District Court Judge
28

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